
660 S.E.2d 495 (2008)
STATE of North Carolina
v.
Alex Levone McGIRT, Jr.
No. 552P07.
Supreme Court of North Carolina.
March 6, 2008.
Alex L. McGirt, Jr., Pro Se.
Robert Montgomery, Special Deputy Attorney General, R. Stuart Albright, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 9th day of November 2007 in this matter for a writ of certiorari to review the order of the Superior Court, Guilford County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 6th day of March 2008."
